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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

  ____________________________________
                                        )
  STATE OF ARIZONA, et al.,             )
                                        )
                            Plaintiffs, )
                                        )
              v.                        )   Civil Action No. 6:22-CV-00885-RRS-CBW
                                        )
  CENTERS FOR DISEASE CONTROL           )
  & PREVENTION, et al.,                 )
                                        )
                            Defendants. )
  _____________________________________)


   DEFENDANTS’ MONTHLY REPORT FOR THE MONTH OF MAY PURSUANT TO
                THE COURT’S PRELIMINARY INJUNCTION
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         Pursuant to the Court’s May 20, 2022 preliminary injunction order, ECF No. 91, Defendants

  herein provide, subject to the caveats discussed below, data showing, for the period of May 1-31,

  2022,1 (1) the number of single adults processed under Title 42 and Title 8 by country, (2) the number

  of recidivist border crossers for whom the U.S. Customs and Border Protection (“CBP”), Department

  of Homeland Security (“DHS”) has applied expedited removal, (3) the number of migrants that have

  been excepted from Title 42 under the NGO-supported humanitarian exception process, and (4) any

  material changes to policy regarding DHS’s application of the Title 42 process.

             1. The number of single adults processed under Title 42 and Title 8 by country.

         Below is the data for single adult encounters by CBP at the Southwest land border for the

  period of May 1-31, 2022.

                                                             Title
   Component                   Citizenship                          Title 8     Total
                                                              42
                  AFGHANISTAN                                     0       4           4
                  ARMENIA                                         5    180          185
                  AUSTRALIA                                       0       1           1
                  AZERBAIJAN                                      0       5           5
                  BELARUS                                         5     51           56
                  BELGIUM                                         1       1           2
      OFO         BELIZE                                          0       7           7
                  BOLIVIA                                         0       2           2
                  BRAZIL                                          0       5           5
                  CAMEROON                                        0       1           1
                  CANADA                                          5       2           7
                  CHILE                                           1       3           4
                  CHINA (MAINLAND)                                2     21           23

  1 The Court’s preliminary injunction order stated that “DHS shall file monthly reports.” ECF No.
  91. As explained in Defendants’ prior weekly reports required by the Court’s temporary restraining
  order (TRO), final verification of DHS’s border data takes place at the end of every month. Due to
  the TRO’s weekly reporting requirement, Defendants have been providing preliminary data subject
  to change. See, e.g., ECF No. 89. In light of the preliminary injunction order’s monthly reporting
  requirement, counsel for Defendants informed Plaintiffs on June 9, 2022, that starting on June 16,
  2022, and each month thereafter, DHS would supply monthly reports on the prior month’s final
  data as long as the preliminary injunction order remains in place. Plaintiffs did not object to
  Defendants’ proposal.


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               COLOMBIA                           2      24      26
               COSTA RICA                         0       3       3
               CUBA                               7     176     183
               CZECH REPUBLIC                     1       0       1
               DENMARK                            0       1       1
               DOMINICAN REPUBLIC                 0       3       3
               ECUADOR                            2       2       4
               EL SALVADOR                        8     155     163
               FRANCE                             1       0       1
               GEORGIA                            0      13      13
               GERMANY                            3       1       4
               GUATEMALA                         24      87     111
               GUYANA                             0       2       2
               HAITI                              5   1,044   1,049
               HONDURAS                           9     386     395
               INDIA                              0       4       4
               IRAN                               0       3       3
               IRAQ                               0       1       1
               ITALY                              0       2       2
               JAMAICA                            0      38      38
               JAPAN                              0       1       1
               JORDAN                             1       0       1
               KAZAKHSTAN                         0       3       3
               KYRGYZSTAN                         0      28      28
               MEXICO                         1,777   2,549   4,326
               MOLDOVA                            0      22      22
               NICARAGUA                          8      18      26
               NIGERIA                            0       1       1
               PERU                               3       9      12
               POLAND                             1       1       2
               PORTUGAL                           1       0       1
               REPUBLIC OF SOUTH AFRICA           0       1       1
               ROMANIA                            1       9      10
               RUSSIA                            37     946     983
               SOMALIA                            1       0       1
               SOUTH KOREA                        0       2       2
               SPAIN                              3       4       7
               SWITZERLAND                        0       1       1
               TAJIKISTAN                         0       1       1
               THAILAND                           0       1       1


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               TRINIDAD AND TOBAGO                0      1        1
               TURKEY                             3      4        7
               UKRAINE                           54     52      106
               UNITED KINGDOM                     0      1        1
               UNKNOWN                            2      6        8
               UZBEKISTAN                         0      4        4
               VENEZUELA                          2     10       12
               YEMEN                              0      1        1
   OFO Total                                  1,975 5,904     7,879
               AFGHANISTAN                        0     27       27
               ALBANIA                            0     10       10
               ANGOLA                             0     68       68
               ARGENTINA                          0     27       27
               ARMENIA                            0      9        9
               ARUBA                              0      1        1
               AZERBAIJAN                         0     22       22
               BANGLADESH                         0     95       95
               BELARUS                            0     24       24
               BELIZE                             1     20       21
               BENIN                              0      9        9
               BOLIVIA                            0     71       71
               BRAZIL                            32 1,234     1,266
               BULGARIA                           0      1        1
               BURKINA FASO                       0     10       10
      USBP     BURMA                              0      1        1
               CAMEROON                           7    111      118
               CANADA                             1      0        1
               CAPE VERDE                         0      1        1
               CHILE                              0      6        6
               CHINA, PEOPLES REPUBLIC OF         0    179      179
               COLOMBIA                          59 9,361     9,420
               CONGO                              0     24       24
               COSTA RICA                         0     38       38
               CUBA                           1,788 18,187   19,975
               DEM REP OF THE CONGO               0     20       20
               DOMINICA                           0      1        1
               DOMINICAN REPUBLIC                 1    350      351
               ECUADOR                          118 1,138     1,256
               EGYPT                              0      4        4
               EL SALVADOR                    4,160    378    4,538


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               EQUATORIAL GUINEA                  0      2        2
               ERITREA                            0     76       76
               ETHIOPIA                           0     23       23
               GAMBIA                             0     11       11
               GEORGIA                            0    849      849
               GHANA                              5    106      111
               GUADELOUPE                         4      0        4
               GUATEMALA                     11,734    576   12,310
               GUINEA                             0     24       24
               GUINEA-BISSAU                      0      5        5
               GUYANA                             1      0        1
               HAITI                          1,928 1,182     3,110
               HONDURAS                       7,662    791    8,453
               HUNGARY                            0      1        1
               INDIA                              1 1,906     1,907
               IRAN                               0      9        9
               IRAQ                               0      2        2
               ISRAEL                             0      2        2
               ITALY                              0      1        1
               IVORY COAST                        0      3        3
               JAMAICA                            0    379      379
               KAZAKHSTAN                         0     16       16
               KOSOVO                             0      4        4
               KUWAIT                             0      1        1
               KYRGYZSTAN                         0     17       17
               LEBANON                            0      2        2
               LIBERIA                            0      1        1
               LIBYA                              0      1        1
               MALI                               0     11       11
               MAURITANIA                         0     21       21
               MEXICO                        60,062 5,475    65,537
               MOLDOVA                            0      3        3
               MOROCCO                            0      2        2
               NEPAL                              0    136      136
               NICARAGUA                      1,071 14,441   15,512
               NIGER                              1      4        5
               NIGERIA                            1     51       52
               PAKISTAN                           0     30       30
               PANAMA                             0     16       16
               PARAGUAY                           0      3        3


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                  PERU                                         15 4,759    4,774
                  PHILIPPINES                                   1      3       4
                  ROMANIA                                       0    147     147
                  RUSSIA                                        0    458     458
                  RWANDA                                        0      1       1
                  SENEGAL                                       0    172     172
                  SERBIA                                        0      6       6
                  SIERRA LEONE                                  0      9       9
                  SOMALIA                                       1    103     104
                  SOUTH KOREA                                   1      0       1
                  SPAIN                                         0      1       1
                  SRI LANKA                                     0     11      11
                  ST. LUCIA                                     0      1       1
                  SUDAN                                         0      4       4
                  SWEDEN                                        0      1       1
                  SYRIA                                         0      9       9
                  TAIWAN                                        0      1       1
                  TAJIKISTAN                                    1      8       9
                  TOGO                                          0      9       9
                  TRINIDAD AND TOBAGO                           0      2       2
                  TUNISIA                                       0      1       1
                  TURKEY                                        0 1,770    1,770
                  UKRAINE                                       0     47      47
                  URUGUAY                                       0      5       5
                  UZBEKISTAN                                    2    107     109
                  VENEZUELA                                    17 3,393    3,410
                  VIETNAM                                       0      2       2
                  YEMEN                                         0      4       4
                  ZAMBIA                                        0      1       1
                  ZIMBABWE                                      0      1       1
   USBP Total                                              88,675 68,646 157,321
   CBP Total                                               90,650 74,550 165,200


         2. The number of recidivist border crossers for whom DHS has applied expedited
            removal.

         From May 1 - 31, 2022, U.S. Border Patrol (“USBP”) applied expedited removal, 8 U.S.C. §

  1225(b)(1), to 2,017 single adults who attempted to unlawfully enter the United States between a port




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  of entry and who had previously been encountered by USBP and processed under Title 42 or Title 8

  at least one time since March 20, 2020.

         3. The number of migrants that have been excepted from Title 42 under the NGO-
            supported humanitarian exception process.

         From May 1 - 31, 2022, CBP’s Office of Field Operations processed 8,247 Title 42 exceptions

  at the 6 ports of entry that utilize the above-referenced NGO-supported humanitarian exception

  process. The below shows the data broken down by port.

                    Hidalgo, TX: 3,651
                    Laredo, TX: 655
                    Eagle Pass, TX: 483
                    Paso del Norte, El Paso, TX: 920
                    Nogales, AZ: 390
                    San Ysidro, CA: 2,148

         4. Any material changes to policy regarding DHS’s application of the Title 42
            process.

         DHS reports that it has made one material change to its policy on its application of the Title

  42 process beyond compliance with the Court’s preliminary injunction order. As explained in

  Defendants’ opposition to Plaintiffs’ motion for preliminary injunction, see ECF No. 40 at 7-8, on

  March 4, 2022, the D.C. Circuit affirmed in part a previously stayed preliminary injunction enjoining

  the application of Title 42 orders to family units. Huisha-Huisha v. Mayorkas, 27 F.4th 718 (D.C. Cir.

  2022). The court found that although 42 U.S.C. § 265 likely authorizes the expulsion of covered

  noncitizens, pursuant to the Immigration and Naturalization Act, such expulsion may not be “to

  places where [the noncitizens] will be persecuted or tortured.” Id. at 722. On May 23, 2022, the

  D.C. Circuit issued its mandate in Huisha-Huisha. In preparation for the mandate’s issuance, DHS

  issued guidance to its field operators on May 21, 2022, attached hereto as Exhibits 1 & 2, specifying

  that “covered noncitizens who are part of a family unit and who have manifested a fear of returning



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  or being sent to the country to which they would be expelled should not be expelled without an

  appropriate screening by United States Citizenship and Immigration Services (USCIS) to determine

  whether they are more likely than not to be persecuted or tortured.” This guidance went into effect

  on May 23, 2022.


  Date: June 16, 2022                                  Respectfully submitted,
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